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 6                                     UNITED STATES DISTRICT COURT

 7                                             DISTRICT OF NEVADA
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 9                                                               Case No. 3:19-cv-00089-LRH
      IN RE:
10                                                               Bk. Case No. 10-50597-BTB
      RONNIE C. MCKINNEY and JOAN E.
11    MCKINNEY,                                                  ORDER
12
                                                  Debtors,
13
      -------------------------------------------------
14
      SETERUS, INC.,
15
                                                Appellant,
16
               v.
17
      RONNIE C. MCKINNEY and JOAN E.
18    MCKINNEY,
19                                              Appellees.
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22           This is a consolidation of two appeals from the United States Bankruptcy Court, District

23   of Nevada, by appellant Seterus, Inc. Seterus’ first appeal concerns an order by the bankruptcy

24   court sanctioning it for, inter alia, violating a bankruptcy stay, and the second appeal concerns

25   another order entered by the bankruptcy court awarding appellees’ attorney’s fees incurred in

26   litigating the case. (ECF No. 16 at 4). The parties fully briefed the appeal (ECF Nos. 11, 12, 14),

27   but shortly after the close of briefing, Seterus filed a motion to dismiss its appeal as moot. (ECF

28   No. 16). In that motion, Seterus states that it has reconsidered the appeal and has elected to pay
                                                             1
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 1   the judgments entered against it and that appellees have accepted full payment. (Id. at 3). It requests

 2   that its appeal be dismissed with each side paying their own costs and fees. (Id.) Appellees,

 3   however, demand that Seterus pay their attorney’s fees for the expense incurred in litigating the

 4   appeal. (ECF No. 17 at 2).

 5          As to the issue of Seterus’s appeal, given that it has paid the judgments entered by the

 6   bankruptcy court and appellees have accepted Seterus' payment in satisfaction of those judgments,

 7   the only issue remaining before this Court is whether, and if so, in what amount, appellees are

 8   entitled to an award of attorney's fees on appeal.

 9          If appellees wish to file a motion and points and authorities in support of their right to

10   recover attorney's fees on appeal, they may do so within 14 days of entry of this order. Any motion

11   must be in full compliance with Local Rule 54-14. Seterus may file a response within 14 days of

12   the filing of the appellees' motion. Prior to the filing of any motion, the Court encourages the

13   parties to meet and confer to attempt to resolve the issue without court intervention. The Court

14   would also refer this to Magistrate Judge Robert A. McQuaid and stay further action in this matter

15   for the purposes of a settlement conference upon the request of either party.

16          As to the issue of Seterus' appeal, the Court will GRANT Seterus’ motion to dismiss in

17   part (ECF No. 16) and reserve further ruling until further notice of the parties' positions. Such

18   notice shall be filed within 14 days of the entry of this order.

19          IT IS SO ORDERED.

20          DATED this 9th day of January, 2020.

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22                                                          LARRY R. HICKS
                                                            UNITED STATES DISTRICT JUDGE
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